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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                       1/12/2021
SANDRA PHILLIP,

                                            Plaintiff,                      18-CV-5005 (SN)

                          -against-                                              ORDER

COMMISSIONER OF SOCIAL SECURITY,

                                             Defendant.
-----------------------------------------------------------------X

SARAH NETBURN, United States Magistrate Judge:

        On May 9, 2019, in accordance with the stipulation and agreement between the parties, I

ordered that this case be remanded for further consideration of the plaintiff’s application for

disability benefits and closed this case. ECF No. 26. On August 8, 2019, pursuant to the

stipulation and agreement filed by the parties, I ordered the award of attorney’s fees to Plaintiff’s

counsel in accordance with the Equal Access to Justice Act, 28 U.S.C. § 2412. ECF No. 33. On

January 11, 2021, Plaintiff’s counsel moved for attorney’s fees pursuant to 42 U.S.C. § 406(b).

ECF No. 34.

        Because of the Commissioner’s unique role and expertise in the area, the Commissioner

is directed to file a letter indicating whether they object to Plaintiff’s counsel’s motion for

§ 406(b) fees no later than February 12, 2021.

SO ORDERED.




DATED:           January 12, 2021
                 New York, New York
